     Case 2:24-cr-00127-JFW         Document 44       Filed 11/18/24      Page 1 of 3 Page ID #:281



 1   E. MARTIN ESTRADA
     United States Attorney
 2   DAVID T. RYAN
     Assistant United States Attorney
 3   Chief, National Security Division
     DAVID C. LACHMAN (Cal. Bar No. 261711)
 4   Assistant United States Attorney
     Terrorism and Export Crimes Section
 5   NISHA CHANDRAN (Cal. Bar No. 325345)
     Assistant United States Attorney
 6   Corporate and Securities Fraud Strike Force                                 Note Changes
            1500 United States Courthouse
 7          312 North Spring Street
            Los Angeles, California 90012
 8          Telephone:       (213) 894-5564/2429
            Facsimile:       (213) 894-2927/0141
 9          E-mail:          david.lachman@usdoj.gov
                             nisha.chandran@usdoj.gov
10
     Attorneys for Plaintiff
11   UNITED STATES OF AMERICA
12                                   UNITED STATES DISTRICT COURT
13                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                             No. 24-CR-00127-JFW
15                 Plaintiff,                              ORDER CONTINUING TRIAL DATE AND
                                                           FINDINGS REGARDING EXCLUDABLE TIME
16                         v.                              PERIODS PURSUANT TO SPEEDY TRIAL
                                                           ACT
17    CHENGUANG GONG,
                                                           TRIAL DATE:
18                 Defendant.                              June 24, 2025, at 8:30 a.m.
19                                                         STATUS CONFERENCE DATE:
                                                           June 2, 2025, at 8:00 a.m.
20

21

22

23          The Court has read and considered the Stipulation Regarding Request for (1) Continuance of

24   Trial Date and (2) Findings of Excludable Time Periods Pursuant to Speedy Trial Act, filed by the

25   parties in this matter on October 31, 2024. The Court hereby finds that the Stipulation, which this

26   Court incorporates by reference into this Order, demonstrates facts that support a continuance of the

27   trial date in this matter, and provides good cause for a finding of excludable time pursuant to the

28   Speedy Trial Act, 18 U.S.C. § 3161.
     Case 2:24-cr-00127-JFW          Document 44        Filed 11/18/24       Page 2 of 3 Page ID #:282



 1           The Court further finds that: (i) the ends of justice served by the continuance outweigh the best
 2   interest of the public and defendant in a speedy trial; (ii) failure to grant the continuance would be
 3   likely to make a continuation of the proceeding impossible, or result in a miscarriage of justice; and (iii)
 4   failure to grant the continuance would unreasonably deny defendant continuity of counsel and would
 5   deny defense counsel the reasonable time necessary for effective preparation, taking into account the
 6   exercise of due diligence; and (iv) the case is so unusual and so complex, due to the nature of the
 7   prosecution, that it is unreasonable to expect preparation for pre-trial proceedings or for the trial itself
 8   within the time limits established by the Speedy Trial Act.
 9           THEREFORE, FOR GOOD CAUSE SHOWN:
10           1.      The trial in this matter is continued from December 10, 2024, to June 24, 2025, at 8:30
11   a.m., and the status conference hearing is continued to June 6, 2025, at 8:00 a.m. Additional pretrial
12   deadlines are as follows:
13                   a.      Pretrial motions shall be filed on or before April 7, 2025, oppositions filed on or
14   before April 21, 2025, and optional replies filed on or before April 23, 2025. A hearing on motions is
15   set for May 2, 2025 at 8:00 a.m.
16                   b.      The government shall disclose its anticipated trial expert(s) to defense counsel on
17   or before April 15, 2025. The defendant shall disclose his anticipated trial expert(s) to the government
18   on or before April 25, 2025.
19                   c.      The government shall send its preliminary pretrial witness list to defense counsel
20   on or before April 25, 2025. The government’s pretrial witness list shall be filed on or before May 30,
21   2025, and defendant shall file a response to the government’s pretrial witness list on or before June 2,
22   2025.
23                   d.      The government shall provide a copy of its preliminary pretrial exhibit list and
24   each exhibit to defendant on or before April 25, 2025, and the parties’ joint pretrial exhibit stipulation
25   shall be filed on or before June 4, 2025.
26           2.      The time period of December 10, 2024, to June 24, 2025, inclusive, is excluded in
27   computing the time within which the trial must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A),
28   (h)(7)(B)(i), (B)(ii), and (B)(iv).
                                                         2
     Case 2:24-cr-00127-JFW         Document 44        Filed 11/18/24     Page 3 of 3 Page ID #:283



 1           3.      Defendant shall appear in Courtroom 7A of the Federal Courthouse, 350 W. 1st Street,
 2   Los Angeles, California on June 2, 2025, at 8:00 a.m. for a status conference and on June 24, 2025, at
 3   8:30 a.m. for trial.
 4           4.      Nothing in this Order shall preclude a finding that other provisions of the Speedy Trial
 5   Act dictate that additional time periods are excluded from the period within which trial must
 6   commence. Moreover, the same provisions and/or other provisions of
 7   the Speedy Trial Act may in the future authorize the exclusion of additional time periods from the
 8   period within which trial must commence.
 9

10           IT IS SO ORDERED.
11

12     November 18, 2024
       DATE                                                HONORABLE JOHN F. WALTER
13                                                         UNITED STATES DISTRICT JUDGE
14
     CC: USPO/PSA; USM
15

16   Presented by:
17     /s/
      NISHA CHANDRAN
18    Assistant United States Attorney
19

20

21

22

23

24

25

26

27

28

                                                       3
